                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:05CR294

UNITED STATES OF AMERICA                    )
                                            )      ORDER RESCINDING
      v.                                    )      DOCUMENT 96 ORDER
                                            )
TITO THOMPSON                        (1)    )
BOBBY THOMPSON                       (2)    )
WILBERT RAYNARD MORRISON             (3)    )
EDWARD D. NEELY                      (4)    )
GOWON DICKSON                        (5)    )
BOBBY LARUE THOMPSON                 (6)    )
DUNCAN CARSON                        (7)    )

       THIS MATTER IS BEFORE THE COURT on its own motion. The Order docketed
on November 14, 2006 [docket #96] is hereby RESCINDED. A new order will be issued
addressing the severing of defendants and defendant Tito Thompson’s motion to continue.


      IT IS SO ORDERED.
                                            Signed: November 15, 2006




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